
PER CURIAM.
Petitioner, Bruce Howard, seeks habeas corpus relief regarding his 1987 upward departure sentence for second-degree murder. We deny the petition on the merits because the record before us shows beyond a reasonable doubt that the trial judge would have imposed the same upward departure sentence based on the valid reasons previously given, even without consideration of the one arguably invalid factor first determined when Howard was sentenced. See Albritton v. State , 476 So.2d 158, 160 (Fla. 1985). Further, we conclude that the trial judge did not abuse his discretion by the extent of the departure. See id.
Petitioner has repeatedly challenged his upward departure sentence in this court. He is therefore cautioned that any further pro se filings in this court asserting claims stemming from his conviction and sentence in case number 84-3221-BB, Circuit Court, Seventh Judicial Circuit, Volusia County, Florida, may result in sanctions such as a bar on pro se filings in this court and referral to prison officials for disciplinary proceedings, which may include forfeiture *170of gain time. See State v. Spencer , 751 So.2d 47, 48-49 (Fla. 1999) ; § 944.279(1), Fla. Stat. (2018).
PETITION FOR WRIT OF HABEAS CORPUS DENIED.
BERGER, LAMBERT, and EISNAUGLE, JJ., concur.
